           Case 2:05-cr-00152-RSL        Document 229       Filed 08/25/06    Page 1 of 2



 1

 2

 3

 4

 5

 6
 7

 8

 9

10

11

12                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
13                                         AT SEATTLE
14    UNITED STATES OF AMERICA,
15                  Plaintiff,
16
                                                           Case No. CR05-152RSL
             v.
17                                                         ORDER ON DEFENDANT’S
      LAM T. PHAM,                                         MOTION FOR RECONSIDERATION
18
                    Defendant.
19

20          This matter comes before the Court on “Defendant Pham’s Motion to Reconsideration”

21   (Dkt. # 228). “Motions for reconsideration are disfavored. The court will ordinarily deny such

22   motions in the absence of a showing of manifest error in the prior ruling or a showing of new

23   facts or legal authority which could not have been brought to its attention earlier with reasonable

24   diligence.” Local Rule CrR 12(c)(11)(A). Although defendant purports to allege new facts in

25   his motion for reconsideration, he fails to show why these facts could not have been brought to

26
      ORDER ON DEFENDANT'S
27    MOTION FOR
      RECONSIDERATION- 1
28
           Case 2:05-cr-00152-RSL       Document 229      Filed 08/25/06      Page 2 of 2



 1   the Court’s attention in the previous motion. Moreover, the facts alleged by defendant in the
 2   instant motion contradict his sworn testimony at his plea hearing. See Dkt. # 218. For these
 3   reasons, defendant’s motion for reconsideration is DENIED.
 4
           DATED this 25th day of August, 2006.
 5

 6
 7                                                   A
                                                     Robert S. Lasnik
 8
                                                     United States District Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
      ORDER ON DEFENDANT'S
27    MOTION FOR
      RECONSIDERATION- 2
28
